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                   8 QUEST DIAGNOSTICS CLINICAL
                     LABORATORIES, INC.; QUEST
                   9 DIAGNOSTICS HOLDINGS, INC. and
                     QUEST DIAGNOSTICS INCORPORATED
                  10

                  11                        UNITED STATES DISTRICT COURT
                  12                      CENTRAL DISTRICT OF CALIFORNIA
                  13 JULIAN VARGAS, ANNE WEST and                Case No. 2:19-cv-08108 DMG (MRWx)
                     AMERICAN COUNCIL OF THE
                  14 BLIND, individually on behalf of            [DISCOVERY MATTER]
                     themselves and all others similarly
                  15 situated,                                   DEFENDANTS’ NOTICE OF MOTION
                                                                 TO COMPEL CLARK RACHFAL TO
                  16              Plaintiffs,                    RESPOND TO QUESTIONS HE WAS
                                                                 INSTRUCTED TO, AND REFUSED,
                  17        v.                                   TO ANSWER
                  18
                     QUEST DIAGNOSTICS CLINICAL                  Date:     August 18, 2021
                                                                 Time:     9:30 a.m.
                  19 LABORATORIES, INC., QUEST                   Place:    Courtroom 550
                     DIAGNOSTICS HOLDINGS, INC.,
                  20 QUEST DIAGNOSTICS                           [Filed Concurrently with: Joint Stipulation
                     INCORPORATED; and DOES 1-10,                Regarding Motion; Declaration of David
                  21 inclusive,                                  Raizman; Declaration of Jonathan Miller;
                                                                 and Civil Trial Scheduling Order; and
                  22              Defendants.                    [Proposed] Order]
                  23                                             Complaint Filed: September 18, 2019
                                                                 Trial Date:       January 11, 2022
                  24                                             District Judge: Hon. Dolly M. Gee
                                                                                   Courtroom 8C, First St.
                  25                                             Magistrate Judge: Hon. Michael R. Wilner
                                                                                   Courtroom 550, Roybal
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                                                                           Case No. 2:19-cv-08108 DMG (MRWx)
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                                         HE WAS INSTRUCTED TO, AND REFUSED, TO ANSWER
         Case 2:19-cv-08108-DMG-MRW Document 79 Filed 07/28/21 Page 2 of 2 Page ID #:497



                   1         TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
                   2         PLEASE TAKE NOTICE that on August 18, 2021, at 9:30 a.m., defendants
                   3   Quest Diagnostics Clinical Laboratories, Inc., Quest Diagnostics Holdings, Inc., and
                   4   Quest Diagnostics Incorporated (collectively, “Quest” or “Defendants”) will move to
                   5   compel Clark Rachfal to respond to questions he was instructed to, and refused, to
                   6   answer at his June 9, 2021 deposition.
                   7         This motion is made pursuant to Central District Local Rule 37-2 et seq., and
                   8   is based on the parties’ joint stipulation, the declaration of David Raizman, the
                   9   declaration of Jonathan Miller, all exhibits, any supplemental memorandum filed
                  10   under Local Rule 37-2.3, and any such arguments as may be presented at the hearing.
                  11

                  12                                            Respectfully submitted,
                  13   DATED: July 28, 2021                     OGLETREE, DEAKINS, NASH, SMOAK &
                                                                STEWART, P.C.
                  14

                  15

                  16                                            By: /s/ David Raizman
                                                                    David Raizman
                  17                                                Amber L. Roller
                                                                    J. Nicholas Marfori
                  18
                                                                Attorneys for Defendants
                  19                                            QUEST DIAGNOSTICS CLINICAL
                                                                LABORATORIES, INC.; QUEST
                  20                                            DIAGNOSTICS HOLDINGS, INC. and
                                                                QUEST DIAGNOSTICS INCORPORATED
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                                                               1            Case No. 2:19-cv-08108 DMG (MRWx)
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                                          HE WAS INSTRUCTED TO, AND REFUSED, TO ANSWER
